Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 1 of 8
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Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 2 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 3 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 4 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 5 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 6 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 7 of 8
Case 1:21-cv-02170-FYP Document 2-1 Filed 08/14/21 Page 8 of 8
